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		OSCN Found Document:IN RE RULES CREATING AND CONTROLLING THE OKLAHOMA BAR ASSOC.

					

				
  



				
					
					
						
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				IN RE RULES CREATING AND CONTROLLING THE OKLAHOMA BAR ASSOC.2018 OK 15Case Number: SCBD-4483Decided: 02/26/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 15, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


&nbsp;


In Re: Rules Creating and Controling the Oklahoma Bar Association




ORDER


This matter comes on before this Court upon an Application to Amend Art. VI, Section 5 of the Rules Creating and Controlling the Oklahoma Bar Association, 5 O.S. ch. 1, app. 1, as proposed and set out in Exhibit "A" attached hereto. This Court finds that it has jurisdiction over this matter and the Rules are hereby amended as set out in Exhibit A attached hereto effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 26th day of February, 2018.


/S/CHIEF JUSTICE



Combs, C.J., Gurich, V.C.J., Kauger, Winchester, Edmondson, Colbert, Reif and Wyrick, JJ., concur.



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EXHIBIT "A"

Oklahoma Statutes Citationized
Title 5. Attorneys and the State Bar 
Chapter 1 - Attorneys and Counselors
Appendix 1 - Rules Creating and Controlling the Oklahoma Bar Association
Article Article VI
Section Art VI Sec 5 - Report of Executive Director
Cite as: O.S. §, __ __

On or before the tenth day of each month the Executive Director shall mail to each member of the Board of Governors and the Chief Justice of the Supreme Court a detailed account showing the receipts and disbursements of the preceding month; such statement shall contain any additional information requested by the Board of Governors. On or before the 21st day of January of each year an annual financial report shall be prepared by the Executive Director. It shall be submitted to the Board of Governors no later than the regular February meeting of the Board. After approval thereof by the Board of Governors the same shall be published promptly in the Bar Journal. 

The Executive Director shall cause to be prepared for each month a statement showing the financial condition of the Association and such other financial reports requested by the Board of Governors. Such monthly financial statement shall be provided to the Oklahoma Supreme Court liaison and the Board of Governors within sixty (60) days from the end of each calendar month. Additionally, the Executive Director shall cause a copy of the Financial Audit of the Association to be provided to the Oklahoma Supreme Court liaison and the Board of Governors for review prior to being placed upon the agenda for approval by the Board of Governors.





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 5. Attorneys and the State Bar
&nbsp;CiteNameLevel

&nbsp;5 O.S. Art VI Sec 5, Report of Executive DirectorCited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
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